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            IN THE UNITED STATES DISTRICT COURT FOR THE
                   NORTHERN DISTRICT OF FLORIDA
                        GAINESVILLE DIVISION



UNITED STATES OF AMERICA,

v.                                       Case No. 1:15cr22-MW/GRJ-2

RANELL CARTER, JR.,

          Defendant.
__________________________/

                    ACCEPTANCE OF PLEA OF GUILTY

      Pursuant to the Report and Recommendation of the United States Magistrate

Judge, ECF No. 47, to which there has been no timely objection, and subject to this

Court’s consideration of the plea agreement pursuant to Fed. R. Crim. P. 11(e)(2),

the plea of Guilty of Ranell Carter, Jr., to Count One of the Indictment against him

is hereby ACCEPTED. All parties shall appear before the Court for sentencing as

directed.

      SO ORDERED on October 19, 2015.

                                             s/Mark E. Walker
                                             United States District Judge
